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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                           JUDGE RAYMOND P. MOORE

Courtroom Deputy: Cathy Pearson                                   Date: June 17, 2019
Court Reporter: Tammy Hoffschildt                                 Interpreter: n/a
Probation: n/a

CASE NO. 19-cr-00020-RM

Parties                                                           Counsel

UNITED STATES OF AMERICA,                                         Celeste Rangel

     Plaintiff,

v.

1. TEVON THOMAS,                                                  Matthew Belcher

     Defendant.




                               COURTROOM MINUTES

MOTION HEARING – Defendant’s Motion to Suppress (Doc. 17)
COURT IN SESSION:    10:01 a.m.

Appearances of counsel. Defendant is present and in custody.

The Court makes preliminary remarks and states its findings.

ORDERED: Defendant’s Motion to Suppress (Doc. 17) is GRANTED as stated on the
         record.

Discussion held regarding the trial and Trial Preparation Conference dates.

ORDERED: Defendant is remanded to the custody of the U.S. Marshal Service.

COURT IN RECESS:           10:41 a.m.
Total in court time:       00:40
Hearing concluded
